Case 1:24-cv-06263-PKC-RML   Document 21-6   Filed 02/20/25   Page 1 of 2 PageID #:
                                      90




                              EXHIBIT
                                     D
Case 1:24-cv-06263-PKC-RML          Document 21-6       Filed 02/20/25      Page 2 of 2 PageID #:
                                             91



                        PROPOSED EMAIL NOTICE OF LAWSUIT

 SUBJECT:      “COURT AUTHORIZED MESSAGE: Cruz-Pena v. Great Kitchen Support
               Corp., Case No. 24 CV 6263 (E.D.N.Y)”

        If you worked for GREAT KITCHEN SUPPORT CORP. and/or CRISTIAN DIAZ

 (“Defendants”), at any time between September 6, 2021, and the present, as Kitchen Assistant or

 Cook, you might be entitled to join a lawsuit seeking backpay for overtime compensation and other

 statutory damages. For additional information about the case, including how to join, please open

 and review the attached documents.

        THIS ELECTRONIC NOTICE AND ITS CONTENTS ARE NOT SPAM OR A

 SOLICITATION TO JOIN A LAWSUIT. THIS NOTICE AND ITS CONTENTS HAVE BEEN

 AUTHORIZED BY THE HONORABLE ROBERT M. LEVY OF THE UNITED STATES

 DISTRICT COURT FOR THE EASTERN DISTRICT OF NEW YORK. THE COURT HAS

 NOT TAKEN ANY POSITION REGARDING THE MERITS OF THE PLAINTIFFS’ CLAIMS

 OR OF THE DEFENDANT’S DEFENSES.
